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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 5.1.1
                               Eastern Division

Knowles Electronics, LLC
                                    Plaintiff,
v.                                                      Case No.: 1:11−cv−06804
                                                        Honorable Joan H. Lefkow
Analog Devices Inc.
                                    Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, March 13, 2013:


       MINUTE entry before Honorable Joan H. Lefkow:Pursuant to Joint Stipulation to
Dismiss [266], this action, including all claims and counterclaims, is dismissed with
prejudice, subject to the terms of that certain agreement entitled "Cross License,
Settlement, and Release Agreement" and dated March 11,2013, with each party to bear its
own costs, expenses, and attorneys' fees. Case is dismissed with prejudice. Any and all
pending motions are moot and all scheduling dates and court dates, including final pretrial
conference of 5/10/2013 and trial date of 6/3/2013, are stricken. Civil case terminated.
Mailed notice(mad, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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